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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

 v.                                      S6 15 Cr. 867 (RMB)

 TÜRKIYE HALK BANKASI A.Ş.,

              Defendant.




          MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S
                      MOTION TO DISMISS




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         The government’s Indictment of Halkbank overreaches and conflicts with governing law

and the plain language of multiple statutes. The Second Circuit has already rejected the

government’s secondary sanctions theory of liability in the Atilla matter. The Indictment still

contains multiple legal flaws, however, because this case includes not only a different defendant,

but also a different indictment, and intervening developments in the law that require dismissal of

all counts.

    I.        Halkbank Is Immune from Liability.

         Under the Foreign Sovereign Immunities Act (“FSIA”), Halkbank is immune from

criminal prosecution. The FSIA provides that “foreign state[s] shall be immune from the

jurisdiction of the courts of the United States,” 28 U.S.C. § 1604, and extends this immunity to

any “instrumentality of a foreign state,” id. § 1603(a). As alleged in the Indictment, Halkbank,

which is majority-owned by the Turkish government, is a foreign instrumentality of the Republic

of Turkey. And even if the FSIA does not apply, Halkbank is entitled to immunity under the

common law. Thus, Halkbank is immune from jurisdiction and cannot be prosecuted.

         A.      The Indictment establishes that Halkbank is an instrumentality of Turkey.

         The FSIA “creates a statutory presumption that a foreign state is immune from suit,”

which is triggered “if it is apparent from the pleadings or uncontested that the defendant is a

foreign state.” Peterson v. Islamic Republic of Iran, 627 F.3d 1117, 1124–25 (9th Cir. 2010)

(internal quotation marks omitted); see also Big Sky Network Can., Ltd. v. Sichuan Provincial

Gov’t, 533 F.3d 1183, 1189 (10th Cir. 2008) (Gorsuch, J.) (finding immunity where complaint

conceded defendants were political subdivisions of a foreign state). The FSIA defines a foreign

instrumentality as, in relevant part, a corporate entity “a majority of whose shares . . . [are]

owned by a foreign state.” 28 U.S.C. § 1603(b). Here, the Indictment alleges that Halkbank is a

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“foreign financial institution organized under the laws of and headquartered in Turkey” and that

a “majority of Halkbank’s shares are owned by the Government of Turkey.” Superseding

Indictment ¶ 7, ECF No. 562. Because at the motion-to-dismiss stage “a court must assume the

truth of the allegations in the indictment,” the foregoing allegations establish that Halkbank is an

instrumentality of Turkey. United States v. Pirk, 267 F. Supp. 3d 406, 415 (W.D.N.Y. 2017)

(internal quotation marks omitted).

       B.      The FSIA’s grant of immunity applies to criminal cases.

       The FSIA’s text—bolstered by both caselaw and a venerable canon of construction—

makes clear that the statute’s grant of immunity applies in criminal cases.

       The Supreme Court has noted the “comprehensiveness of the statutory scheme in the

FSIA,” Argentine Republic v. Amerada Hess Shipping Corp., 488 U.S. 428, 437 (1989), and

found that the statute “provides the sole basis for obtaining jurisdiction over a foreign state in

federal court,” id. at 439. And the text of the FSIA on this point is clear: federal courts do not

have jurisdiction over criminal actions against foreign states. Section 1604’s blanket mandate

that “foreign state[s] shall be immune from the jurisdiction of the courts of the United States”

does not distinguish between civil and criminal actions. 28 U.S.C. § 1604. And the statute’s

jurisdiction-granting provision—which operates to confer jurisdiction where a foreign state is not

entitled to immunity—is explicitly limited to “nonjury civil action[s] against a foreign state.” 28

U.S.C. § 1330(a) (emphasis added).

       Multiple courts have reached this conclusion. In Keller v. Central Bank of Nigeria, 277

F.3d 811 (6th Cir. 2002), abrogated on other grounds, Samantar v. Yousuf, 560 U.S. 305 (2010),

for example, the Sixth Circuit held that “the FSIA grants immunity to foreign sovereigns from

criminal prosecution,” reasoning that FSIA “does not limit [its] grant of immunity to civil cases.”

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Id. at 820; see also Dale v. Colagiovanni, 337 F. Supp. 2d 825, 842–43 (S.D. Miss. 2004), rev’d

on other grounds, 443 F.3d 425 (5th Cir. 2006); Gould, Inc. v. Mitsui Mining & Smelting Co.,

750 F. Supp. 838, 843–44 (N.D. Ohio 1990). The Federal Judicial Center has similarly

explained that “nothing in the text or legislative history [of the FSIA] supports” the conclusion

that “states or their agencies or instrumentalities can be subject to criminal proceedings in U.S.

courts.” David P. Stewart, Federal Judicial Center, The Foreign Sovereign Immunities Act: A

Guide for Judges 1 n.2 (2nd ed. 2018). But some courts have adopted a contrary position. See,

e.g., Southway Constr. Co. v. Cent. Bank of Nigeria, 198 F.3d 1210, 1214 & n.4 (10th Cir.

1999); In re Grand Jury Proceeding Related to M/V Deltuva, 752 F. Supp. 2d 173 (D.P.R. 2010);

United States v. Hendron, 813 F. Supp. 973, 974–77 (E.D.N.Y. 1993).1 These decisions

disregarded Section 1604’s plain language and presumed, without explanation, that federal

courts have jurisdiction over foreign states unless Congress limits jurisdiction. That is

backwards.2

       The Sixth Circuit’s approach aligns with The Charming Betsy canon, an “age-old canon

of construction [that] instructs that ‘an act of Congress ought never to be construed to violate the

law of nations if any other possible construction remains.’” Fox TV, Inc. v. Aereokiller, LLC,

851 F.3d 1002, 1011 (9th Cir. 2017) (quoting Murray v. The Schooner Charming Betsy, 6 U.S.


1
  The D.C. Circuit recently noted this Circuit split, but declined to “weigh in on [the] dispute.”
In re Grand Jury Subpoena, 912 F.3d 623, 627 (D.C. Cir. 2019) (per curiam), cert denied, 139 S.
Ct. 914 (2019). The Supreme Court has not addressed the split.
2
  The FSIA should also be interpreted in light of the preexisting common law approach, which,
as discussed infra Section I.D., provides for absolute sovereign immunity. “The FSIA is a
statute that ‘invade[d] the common law’ and accordingly must be ‘read with a presumption
favoring the retention of long-established and familiar principles, except when a statutory
purpose to the contrary is evident.’” Matar v. Dichter, 563 F.3d 9, 13 (2d Cir. 2009) (alteration
in original).

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(2 Cranch) 64, 118 (1804)). International law has long recognized the principle of foreign

sovereign immunity. See, e.g., Jurisdictional Immunities of the State (Ger. v. It.), Judgment,

2012 I.C.J. Rep. 99, ¶¶ 53–58 (Feb. 3). Thus, the FSIA should be interpreted so as not to violate

international law.

       C.      Section 1605’s exceptions do not apply.

       Section 1605’s exceptions do not apply to criminal cases. The FSIA includes limited

exceptions to immunity, and all but two of these exceptions—waiver and commercial activity—

are limited to civil cases by their express terms. See 28 U.S.C. §§ 1605(a)(3)–(5), (b)–(d),

1605A, 1605B. Included among these exceptions are actions where “money damages are

sought” from a foreign state based on terrorism or “torture, extrajudicial killing, aircraft

sabotage, hostage taking, or the provision of material support . . . for such an act.” 28 U.S.C. §

1605A, 1605B (emphasis added). To construe the commercial activity exception in Section

1605(a)(2) to apply in criminal cases would produce an absurd result: a foreign sovereign could

be prosecuted for financial crimes, but not for acts such as terrorism or torture. See, e.g., Pub.

Citizen v. DOJ, 491 U.S. 440, 453–54 (1989) (discussing the absurdity doctrine); but see In re

Grand Jury Subpoena, 912 F.3d 623 (rejecting a categorical bar on applying Section 1605(a)

exceptions in a criminal case because these exceptions “apply to ‘any case’”). To avoid such an

absurd result, Section 1605 must be interpreted to limit these exceptions to the civil context.

       The “commercial activity” exception does not apply to sovereign activities. The

government has the burden of production to show that one of the exceptions to the FSIA applies.

See, e.g., Matar v. Dichter, 563 F.3d at 12. And even if Section 1605’s exceptions did apply in

criminal cases, none would apply here. Presumably, the government will argue that the

commercial activities exception applies here. See 28 U.S.C. § 1605(a)(1). But while private

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banking activities may be generally commercial, the Supreme Court has found that a state

engages in commercial activity when “it exercises only those powers that can also be exercised

by private citizens, as distinct from those powers peculiar to sovereigns.” Saudi Arabia v.

Nelson, 507 U.S. 349, 360 (1993) (internal quotation marks) (emphasis added). Under this test,

Halkbank’s facilitation of Iranian trade was a sovereign activity. “Private citizens” did not have

the power to intermediate Iranian oil sales. Rather, Turkey designated Halkbank, under the

National Defense Authorization Act (“NDAA”), to act on Turkey’s behalf as the sole repository

of funds from Iranian oil sales. The Turkish government’s designation of Halkbank to fill this

critical function on its behalf was the result of discussions between the United States and Turkey

to allow the continued importation of Iranian oil so long as Turkey met goals to become less

dependent on Iranian oil. Because it was acting on behalf of the Turkish state, Halkbank was

exercising a uniquely sovereign function. See also Anglo-Iberia Underwriting Mgmt. v. P.T.

Jamsostek, 600 F.3d 171, 177 (2d Cir. 2010) (finding that commercial exception did not apply to

state-owned insurer because of the unique role it played as the country’s “default health

insurer”). Thus, although Halkbank was engaged in banking activities, the commercial activity

exception does not apply.

       The “commercial activity” exception does not apply to the alleged conduct. Even if

processing these transactions was not uniquely sovereign for purposes of the commercial activity

exception (which it was), the exception would still not apply. The allegations in the Indictment

do not support—and in fact contradict—application of the exception. For the exception to apply,

Halkbank’s alleged actions must be based “upon an act outside the territory of the United States

in connection with a commercial activity of the foreign state elsewhere [that] causes a direct




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effect in the United States.” 28 U.S.C. § 1605(a)(2).3 None of Halkbank’s activities are alleged

to have caused a “direct effect” in the United States. A “direct effect” must “follow as an

immediate consequence of the defendant’s activity.” Atlantica Holdings v. Sovereign Wealth

Fund Samruk-Kazyna JSC, 813 F.3d 98, 108 (2d Cir. 2016) (alterations and internal quotation

marks omitted). A consequence is immediate if there is no intervening element between the

defendant’s activity and the effect of that activity. See Guirlando v. T.C. Ziraat Bankasi A.S.,

602 F.3d 69, 74 (2d Cir. 2010). Such an effect need not be either substantial or foreseeable but

“‘the requisite immediacy’ is lacking where the alleged effect ‘depend[s] crucially on variables

independent of’ the conduct of the foreign state.” Id. at 75 (alteration in original); see id. at 75.

Jurisdiction under this provision “may not be predicated on purely trivial effects in the United

States.” Republic of Arg. v. Weltover, Inc., 504 U.S. 607, 618 (1992).

       Here, the government has not alleged sufficient facts tying Halkbank’s conduct to

commercial activity with a direct effect in the United States. Specifically, the government has

alleged that Reza Zarrab conducted gold and food trades with Iranian and Dubai entities through

Halkbank and then funneled the proceeds of those transactions through several channels and

jurisdictions, eventually allegedly converting some of the proceeds into U.S. dollars via U.S.

banks. See, e.g., ECF No. 562 ¶ 48. This set of facts depends on intervening elements with

characters, intermediaries, and variables independent of the conduct of Halkbank. The nexus to

the United States is tenuous at best; there is no allegation that any proceeds that originated at



3
  Section 28 U.S.C. § 1605(a)(2) also provides that the commercial activity exception may apply
based on “a commercial activity carried on in the United States by the foreign state; or upon an
act performed in the United States in connection with a commercial activity of the foreign state
elsewhere.” But Halkbank is not alleged to have carried on commercial activity or performed
acts in the United States. In fact, Halkbank has no presence (e.g., branch) in the United States.

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Halkbank were required to move through the United States. See, e.g., Guirlando, 602 F.3d at 75

(noting lack of FSIA jurisdiction when payment in United States “was not a contractual

requirement” (internal quotation marks omitted)). That is demonstrated by the government’s

own allegations, which claim that Zarrab helped move the equivalent of $20 billion out of

Halkbank—but only a fraction of that money is alleged to have ever touched a U.S. account. See

ECF No. 562 ¶¶ 4, 64. Nor is Halkbank alleged to have engaged in the transactions that actually

touched the U.S. financial system. Thus, the U.S. activity could not have been an “immediate

consequence” of Halkbank’s alleged activities, and any effect in the United States was purely

trivial.

           D.    Even if the FSIA does not apply, Halkbank is entitled to immunity under the
                 common law.

           The Supreme Court has made clear that where the FSIA does not apply, common-law

foreign sovereign immunity does apply. Samantar v. Yousuf, 560 U.S. 305, 324 (2010) (“Even if

a suit is not governed by the [FSIA], it may still be barred by foreign sovereign immunity under

the common law.”). And at common law, “foreign states were absolutely immune from suit.”

Peterson, 627 F.3d at 1126; see also, e.g., In re Investigation of World Arrangements, 13 F.R.D.

280, 291 (D.D.C 1952) (quashing criminal subpoena against foreign instrumentality on sovereign

immunity grounds). Thus, even if the FSIA does not address criminal actions, Halkbank remains

immune under common-law principles because statutory “silence does not suffice” to “abrogate”

the common law providing for sovereign immunity. Matar, 563 F.3d at 14.

           Accordingly, the Indictment must be dismissed because Halkbank is immune from

criminal prosecution.




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II.    The Indictment Should Be Dismissed Because This Court Does Not Have Personal
       Jurisdiction over Halkbank.

       Halkbank is organized under Turkish law, has no branches in the United States, and has

no “continuous and systematic” contact with the United States. Importantly, the government has

not shown, and cannot show, that Halkbank engaged in conduct such that it could reasonably

have foreseen being haled into court in the United States to defend itself in this case. The

Indictment therefore should be dismissed due to a lack of personal jurisdiction.

       In International Harvester v. Commonwealth of Kentucky, the Supreme Court held that

the Due Process Clause protects corporations from being forced to respond to criminal charges in

fora with which they do not have sufficient contacts. See 234 U.S. 579, 587 (1914).

International Harvester was one of a long line of cases that led to the adoption of the “minimum

contacts” test articulated in International Shoe. Int’l Shoe Co. v. Washington, 326 U.S. 310, 314,

315, 317, 319, 321 (1945) (repeatedly citing International Harvester in developing test).

Although there is a dearth of caselaw discussing personal jurisdiction in the corporate-criminal

context, the 2016 amendments to Federal Rule of Criminal Procedure 4 bring this issue to a head.

Previously, a criminal summons generally had to be served upon an organizational defendant in

the United States. See United States v. Pangang Grp. Co., 879 F. Supp. 2d 1052, 1057–58 (N.D.

Cal. 2012). Now, a criminal defendant may be served “by any . . . means that gives notice.”

Fed. R. Crim. P. 4(c)(3)(D)(ii). Without due process protections, the government could subject

any organization in the world to criminal jurisdiction in the United States, regardless of the

organization’s actual connection to the forum country. See J. McIntyre Mach., Ltd. v. Nicastro,

564 U.S. 873, 884 (2011) (“Personal jurisdiction, of course, restricts judicial power not as a

matter of sovereignty, but as a matter of individual liberty, for due process protects the

individual’s right to be subject only to lawful power.” (internal quotation marks omitted)).
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        Several courts have applied International Shoe in the criminal context. For example, in

In re Marc Rich, the Second Circuit analyzed the extent of the grand jury’s investigatory power,

which the court noted was coterminous with the power of the district court. 707 F.2d 663, 665–

67 (2d Cir. 1983). Holding that the government has the burden of demonstrating sufficient

contacts with the forum to enforce a grand jury subpoena, the court reasoned that “[a] federal

court’s jurisdiction is not determined by its power to issue a subpoena; its power to issue a

subpoena is determined by its jurisdiction.” Id. at 669; see also In re Sealed Case, 832 F.2d

1268, 1274 (D.C. Cir. 1987) (finding insufficient contacts to issue a grand jury subpoena),

abrogated on other grounds by Braswell v. United States, 487 U.S. 99 (1988). At least two

courts have applied this principle to corporate criminal defendants. United States v. Nippon

Paper Indus., 944 F. Supp. 55, 60 (D. Mass. 1996) (rejecting the argument that “Congress can

authorize federal courts to exercise jurisdiction over an alien corporation, without regard to the

contacts of that corporation to the United States”), rev’d on other grounds, 109 F.3d 1 (1st Cir.

1997); United States v. Chitron Elecs. Co., 668 F. Supp. 2d 298, 303 (D. Mass. 2009); see also

Clark A. Nichols et al., 11 Cyc. of Fed. Proc. § 39:140 (3d ed.) (“To establish personal

jurisdiction over a foreign corporation charged with a crime, the government has the burden of

demonstrating via indictment or affidavits: (1) the effects necessary to establish personal

jurisdiction, and (2) minimum contacts between the corporation or its agent and the United

States.”).

        To meet the requirements of the Due Process Clause, the government must establish

either (1) that Halkbank has “continuous and systematic” contacts with the United States such

that it can be regarded as “at home” here, or (2) that the conduct giving rise to the alleged crimes

“arise[s] out of” activities by Halkbank in the United States and the exercise of jurisdiction

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comports with notions of “fair play and substantial justice.” See Helicopteros Nacionales de

Colom., S.A. v. Hall, 466 U.S. 408, 414 (1984) (internal quotation marks omitted); Int’l Shoe,

326 U.S. at 320. The government cannot do either.

       First, there are no allegations suggesting that Halkbank has such continuous and

systematic contacts that it is “at home” and therefore subject to general jurisdiction in this Court.

A corporation generally is “at home” only in its place of incorporation and principal place of

business. Daimler AG v. Bauman, 571 U.S. 117, 139 (2014); Brown v. Lockheed Martin Corp.,

814 F.3d 619, 629 (2d Cir. 2016). The presence of correspondent accounts in Manhattan does

not place a bank within the general jurisdiction of the Southern District of New York. Gucci

Am., Inc. v. Bank of China, 768 F.3d 122, 135 (2d Cir. 2014) (finding no general jurisdiction

over a foreign bank, despite business and branch offices in New York); In re Terrorist Attacks on

Sept. 11, 2001, 714 F.3d 659, 680 (2d Cir. 2013) (“[W]e conclude that the alleged use of

correspondent bank accounts and the maintenance of a website that allows account holders to

manage their accounts are insufficient to support the exercise of general personal jurisdiction.”).

The government acknowledges that Halkbank is incorporated, and has its principal place of

business, in Turkey. ECF No. 562 ¶ 7. Moreover, the Indictment scarcely alleges any

“continuous” connections between Halkbank and the United States other than the maintenance of

correspondent accounts. See generally id. The Court therefore does not have general

jurisdiction over Halkbank. See Gucci Am., Inc., 768 F.3d at 135.

       Nor does the Court have specific jurisdiction over Halkbank. For the Court to assert such

jurisdiction, the government must make “non-conclusory and fact-specific” showings that (1)

Halkbank purposefully availed itself of the United States, and (2) the alleged crime arises out of

that purposeful availment. See Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985); Int’l

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Shoe, 326 U.S. at 319; Contant v. Bank of Am. Corp., 385 F. Supp. 3d 284, 290 (S.D.N.Y. 2019).

To determine whether a defendant has “purposefully availed” itself of a forum, courts look to

whether, at the time of the alleged conduct, the defendant could reasonably have expected that it

could be called to defend itself there. Burger King Corp, 471 U.S. at 474. It is not enough for

the defendant’s contact with the forum to have been foreseeable; the defendant must have

engaged in conduct “intentional[ly] . . . aimed at the forum.” In re Terrorist Attacks on Sept. 11,

2001, 714 F.3d at 674 (internal quotation marks omitted). Specific jurisdiction cannot be based

solely on the actions of a co-conspirator; each defendant over which the court asserts jurisdiction

must have engaged in “conspiracy-related conduct” that purposefully availed itself of the forum.

Contant, 385 F. Supp. 3d at 294. Finally, jurisdiction cannot be based solely on a non-resident’s

“getting information from or giving information to the government, or getting the government’s

permission to do something.” Klinghoffer v. S.N.C. Achille Lauro, 937 F.2d 44, 51 (2d Cir.

1991) (internal quotation marks omitted).

       The government has not alleged facts giving rising to specific jurisdiction over Halkbank.

The alleged conduct underlying the charges against Halkbank has no connection to the United

States, and there are no allegations that Halkbank purposefully availed itself of the laws and

protections of the United States. The sole allegations connecting the supposed conspiracy to the

United States are (1) that, after Halkbank allegedly facilitated gold and food transactions, Zarrab

later engaged the U.S. banking system by causing other banks to transfer funds through U.S.

accounts, and (2) that Halkbank employees made misstatements to U.S. regulators. The former

allegation does not suffice. Even if Zarrab, as a co-conspirator, availed himself of the United

States, his conduct does not subject all co-conspirators to jurisdiction. See Contant, 385 F. Supp.

3d at 294. And even if Halkbank could have foreseen that proceeds from the alleged gold

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transactions would eventually enter the U.S. financial system, foreseeability alone is insufficient

to confer jurisdiction. In re Terrorist Attacks on Sept. 11, 2001, 714 F.3d at 674. With respect to

the allegation regarding regulators, Halkbank’s alleged actions cannot confer jurisdiction

because the alleged interactions were limited to providing information to U.S. regulators.

Klinghoffer, 937 F.2d at 51. The government cannot meet its burden of establishing personal

jurisdiction.

III.    The Indictment Should Be Dismissed Because the Statutes at Issue Do Not Apply
        Extraterritorially.

        This case and its brethren represent novel prosecutions. Before this matter, the

government had never sought to enforce criminally an alleged attempt to avoid secondary

sanctions. The Second Circuit recently rejected this theory, precluding the government from

doing so here. See United States v. Atilla, ---F.3d---, 2020 WL 4045356, at *5 (2d Cir. July 20,

2020). But that now-rejected theory is not the only unique aspect of this prosecution. The

Iranian sanctions framework is not designed to criminally prosecute a foreign actor for foreign

conduct—legal under foreign law—based solely on incidental contact with U.S. correspondent

banks of banks other than Halkbank. And for good reason: this framework is designed to govern

the actions of U.S. persons and the movement of U.S. exports; it does not purport to govern the

world. The government’s efforts here run up against the strong-form presumption against

extraterritoriality laid down by the Supreme Court in RJR Nabisco, Inc. v. European Community,

136 S. Ct. 2090 (2016), and subsequently adopted by the Second Circuit in the criminal context.

This framework forecloses the IEEPA count and casts serious doubt on the other charges. While

Halkbank recognizes that the Court found similar arguments unpersuasive in related cases, it

advances them here to highlight changes in Second Circuit doctrine since the Court last visited

the issue.
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       A.      The Second Circuit recently adopted a strong presumption against
               extraterritoriality in the criminal context.

       “It is a basic premise of our legal system that, in general, ‘United States law governs

domestically but does not rule the world.’” RJR Nabisco, 136 S. Ct. at 2100 (quoting Microsoft

Corp. v. AT & T Corp., 550 U.S. 437, 454 (2007)). This fundamental principle is effectuated

through the presumption against extraterritoriality: “[a]bsent clearly expressed congressional

intent to the contrary, federal laws will be construed to have only domestic application.” Id. But

until recently, Second Circuit extraterritoriality doctrine was murky. Some of the confusion

stemmed from United States v. Bowman, 260 U.S. 94 (1922), which held that the presumption

against extraterritoriality should not apply to criminal statutes which are “not logically dependent

on their locality for the Government’s jurisdiction, but are enacted because of the right of the

Government to defend itself against obstruction, or fraud wherever perpetrated.” Id. at 98.

Several Second Circuit panels relied on Bowman to reject the presumption’s applicability in the

criminal context altogether, see United States v. Siddiqui, 699 F.3d 690, 700–01 (2d Cir.), as

amended (Nov. 15, 2012); United States v. Al Kassar, 660 F.3d 108, 118 (2d Cir. 2011), but a

subsequent panel rejected this approach, see United States v. Vilar, 729 F.3d 62, 73 (2d Cir.

2013). There was no standard approach to determining when the presumption was rebutted or

when domestic conduct rendered the presumption inapplicable.

       This all changed in the past three years. Since the Court last visited the issue, the Second

Circuit has adopted the Supreme Court’s modern presumption against extraterritoriality in the

criminal context. See, e.g., United States v. Napout, 963 F.3d 13, 177–79 (2d Cir. 2020);

Bascuñán v. Elsaca, 927 F.3d 108, 120–25 (2d Cir. 2019) (examining wire, mail, and bank fraud

predicates in a civil RICO case); United States v. Hoskins, 902 F.3d 69, 95–97 (2d Cir. 2018).



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The Supreme Court’s framework represents a clear and particularly strong approach to the

presumption. See, e.g., RJR Nabisco, 136 S. Ct. at 2100–01.

       Under RJR Nabisco, courts follow a two-step framework to determine whether a statute

applies to a foreign actor. First, courts must ask “whether the presumption against

extraterritoriality has been rebutted—that is, whether the statute gives a clear, affirmative

indication that it applies extraterritorially.” RJR Nabisco, 136 S. Ct. at 2101. This is not a

blanket determination: even if the presumption has been rebutted, any extraterritorial application

is limited to the specific provisions authorizing such application. Id.; see also Morrison v. Nat’l

Austl. Bank Ltd., 561 U.S. 247, 265 (2010). Second, if the presumption against extraterritoriality

is not rebutted, courts must “determine whether the case involves a domestic application of the

statute.” RJR Nabisco, 136 S. Ct. at 2101. This determination hinges on the statute’s “focus”:

“[i]f the conduct relevant to the statute’s focus occurred in the United States, then the case

involves a permissible domestic application even if other conduct occurred abroad; but if the

conduct relevant to the focus occurred in a foreign country, then the case involves an

impermissible extraterritorial application regardless of any other conduct that occurred in U.S.

territory.” Id. (emphasis added). ‘“[M]erely incidental”’ conduct does not have ‘“primacy for

the purposes of [this] analysis.”’ Bascuñán, 927 F.3d at 122 (quoting WesternGeco LLC v. ION

Geophysical Corp., 138 S. Ct. 2129, 2138 (2018)).

       B.      The Indictment improperly applies U.S. law extraterritorially.

       Conspiracy to Violate IEEPA. The deficiencies of the IEEPA conspiracy charge (Count

Two) under this framework are clear. First, the presumption against extraterritoriality is not

rebutted. The fact that a statute is internationally-focused or that some of its provisions may

apply extraterritorially does not permit the extraterritorial application of other provisions. RJR

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Nabisco, 136 S. Ct. at 2101. IEEPA’s jurisdictional provision limits the statute’s application to

“any person, or with respect to any property, subject to the jurisdiction of the United States.” 50

U.S.C. § 1702(a)(1). The phrase “person . . . subject to the jurisdiction of the United States” has

long been understood in the sanctions context to mean only (1) U.S. citizens, (2) individuals

“actually within” the United States, (3) U.S. corporations, or (4) organizations owned by the

foregoing. See, e.g., 31 C.F.R. § 535.329 (2019); see also 31 C.F.R. § 560.314 (2019). OFAC’s

compliance guidelines reflect this understanding. See, e.g., U.S. Dep’t of the Treasury, OFAC

Regulations for the Financial Community 4 (2012), https://www.treasury.gov/resource-

center/sanctions/Documents/facbk.pdf. And the phrase “with respect to any property” is

understood as authorizing the President to freeze or “block” certain foreign property within the

United States.4

       The only domestic connection alleged here is the use of certain domestic banks to process

dollar transactions. The mere existence of such transactions, however, does not end the analysis.

Instead, “this conduct is domestic when a core component” of the alleged conspiracy was use of

these domestic accounts. Bascuñán, 927 F.3d at 124. The fact that the “domestic” transfers

were peripheral to the alleged conspiracy is evident from the Indictment: less than five percent of

the allegedly “illicitly transferred” funds passed through domestic accounts. ECF No. 562 ¶¶ 4,




4
  The extraterritoriality analysis begins and ends with IEEPA, as regulations cannot apply more
broadly than their authorizing statute. See City of Arlington v. F.C.C., 569 U.S. 290, 301 (2013).
In this case, however, the regulatory framework enacted pursuant to IEEPA reinforces the
conclusion that extraterritorial application is inappropriate. Far from manifesting a clear intent to
apply extraterritorially, the ITSR regulations at issue govern exports “from the United States . . .
to Iran” or the reexportation of such U.S. exports to Iran. 31 C.F.R. §§ 560.204–05 (emphasis
added). The existence of a secondary sanctions regime further supports this conclusion. See 31
C.F.R. § 561.203 (2019).

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48; see also Napout, 963 F.3d at 180– 81 (finding domestic wire transfers to be “central” to

scheme because more than two-thirds of bribes were paid used domestic wires).

       Bank Fraud. The bank fraud charges (Counts Three and Four) fail on similar grounds.

The bank fraud statute does not apply extraterritorially. Bascuñán, 927 F.3d at 124. And the

Second Circuit has suggested that the statute’s “focus” for purposes of the domestic-conduct

analysis is the scheme to defraud rather than its ultimate execution. See id. at 123–25. In

Bascuñán, the Second Circuit found that a bank fraud scheme’s conduct was domestic “when a

core component of the scheme to defraud was the use of domestic mail or wires to direct the theft

or misappropriation of property.” Id. at 124. But Bascuñán dealt with a scheme involving

repeated orders to transfer money from U.S. domestic accounts, as well as the use of shell

corporations and fraudulent invoices. Id. at 112–14, 124–25. Here, the core conduct associated

with the alleged scheme occurred abroad. Any contact with U.S. financial institutions through

correspondent relationships that belonged to banks in Dubai (not Halkbank) was merely

incidental. See ECF No. 562 ¶ 48 (describing movement of gold and funds through Dubai).

       Conspiracy to Defraud the United States. Count One, conspiracy to defraud the United

States, hinges on the continued validity of United States v. Bowman, 260 U.S. 94 (1922).

Bowman’s exception to the presumption against extraterritoriality for obstruction or fraud against

the government could appear at first to apply to this count. See Vilar, 729 F.3d at 73; United

States v. Cotten, 471 F.2d 744, 750 (9th Cir. 1973). But Bowman is in fundamental tension with

the Supreme Court’s current approach to the presumption, see United States v. Perez, 962 F.3d

420, 439 n.5 (9th Cir. 2020), and the Second Circuit has not cited Bowman for this point in the




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post-RJR Nabisco era.5 Moreover, the application of Bowman in this case is doubly problematic

because it would criminalize extraterritorial conduct based on a judge-made “common law

crime.” United States v. Coplan, 703 F.3d 46, 61–62 (2d Cir. 2012).

       These considerations counsel in favor of applying RJR Nabisco rather than Bowman.

Under RJR Nabisco, the question of extraterritorial application is clear. Section 371 contains no

indication of an extraterritorial application. Instead, it criminalizes defrauding the government

“in any manner or for any purpose”—precisely the sort of broad language the Supreme Court has

held insufficient to rebut the presumption. Kiobel v. Royal Dutch Petroleum Co., 569 U.S. 108,

118 (2013). Nor did the alleged core conduct related to the statute’s focus occur domestically.

       Money Laundering. The money laundering statute includes an express extraterritoriality

provision that (as relevant here) applies if “the conduct occurs in part in the United States.” 18

U.S.C. § 1956(f). “Conduct” is not a defined term in the statute, but “conducts” is defined to

“include[] initiating, concluding, or participating in initiating, or concluding a transaction.” Id. §

1956(c)(2). The Indictment does not allege that such actions occurred in the United States, and

“the presumption against extraterritoriality operates to limit th[ose] provision[s] to [their] terms.”

RJR Nabisco, 136 S.Ct. at 2102 (quoting Morrison, 561 U.S. at 265). Without such a limitation,

the money laundering statute would touch any criminal scheme anywhere in the world simply

because U.S. dollars were transferred. Incredibly, under such a reading Section 1956(f)’s

“conduct” limitations on extraterritorial application would be superfluous, because Section

1956(a)(2)(A), by its own terms, applies to all transactions that touch the United States. This



5
 The Second Circuit has cited Bowman once in this period, for the distinct proposition that the
proper extraterritorial application of an offense like conspiracy is coterminous with that of the
underlying substantive offense. See United States v. Hoskins, 902 F.3d 69, 96 (2d Cir. 2018).

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broad reading of “conduct” is at odds with the Supreme Court’s current approach to the

presumption against extraterritoriality.6

IV.    The Indictment Fails to Allege Bank Fraud or Conspiracy to Commit Bank Fraud.

       Counts Three and Four of the Indictment charge Halkbank with violating and conspiring

to violate the bank fraud statute by “knowingly execut[ing] and attempt[ing] to execute a scheme

or artifice [1] to defraud a financial institution, the deposits of which were then insured by the

FDIC, and [2] to obtain moneys, funds, credits, assets, securities, and other property owned and

under the custody and control of a financial institution by means of false and fraudulent

pretenses, representations, and promises.” ECF No. 562 ¶¶ 73, 75–76 (citing 18 U.S.C. §

1344(1)–(2)). These counts fail to allege the requisite elements and must be dismissed.

       A.      The Indictment fails to allege a scheme to defraud a U.S. bank.

       As an initial matter, the Indictment fails to establish a scheme to defraud, which requires

a “pattern or course of conduct designed to deceive a federally chartered or insured financial

institution into releasing property, with the intent to victimize the institution by exposing it to

actual or potential loss.” United States v. Stavroulakis, 952 F.2d 686, 694 (2d Cir. 1992).

       The Indictment fails to allege a material misrepresentation. First, the Indictment does not

allege any material misrepresentations made to a U.S. bank. A wire transfer is not itself a

representation. See Williams v. United States, 458 U.S. 279, 284 (1982) (“[T]echnically

speaking, a check is not a factual assertion at all, and therefore cannot be characterized as ‘true’




6
  To the extent that the Court reaches the second step of the RJR Nabisco analysis, the “focus” of
the scheme alleged here could not have been financial transactions in the United States as
described more fully above. But see United States v. Prevezon Holdings, Ltd., 251 F. Supp. 3d
684, 694 (S.D.N.Y. 2017) (holding under different portion of money laundering statute “that use
of U.S. correspondent banks to launder illegal proceeds qualifies as domestic conduct”).

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or ‘false’”); United States v. Briggs, 939 F.2d 222, 226 (5th Cir. 1991) (“The bare act of

instructing a bank to transfer funds is not a factual representation; thus, it cannot be a

misrepresentation, a false representation, or any kind of representation”).

       Nor do financial instruments make any implicit representations about the underlying

transaction. See Williams, 458 U.S. at 285 (presenting a check supported by insufficient funds

does not “make any representation as to the state of [the depositor’s] bank balance”); see also

United States v. Laljie, 184 F.3d 180, 191 (2d Cir. 1999) (filling in check’s blank payee line is

not a representation about payee’s legitimacy). While instructing a bank to process a transaction

could involve a misrepresentation, the Indictment fails to allege any here. Compare United

States v. Rodriguez, 140 F.3d 163, 166–67 (2d Cir. 1998) (presenting checks procured by fraud

to a bank does not constitute a misrepresentation of depositor’s authority), with United States v.

Morgenstern, 933 F.2d 1108, 1113 (2d Cir. 1991) (presenting checks procured by fraud and

falsifying checks by changing payee names and inflating dollar amounts did constitute a

misrepresentation of depositor’s authority).7

       The Indictment fails to allege intent to harm a U.S. bank. Second, the Indictment not

only fails to allege specific intent to harm a U.S. bank, it alleges that Halkbank “intended to

deceive U.S. regulators and foreign banks.” ECF No. 562 ¶ 1 (emphasis added). Intent to

“defraud a financial institution . . . is § 1344(1)’s whole sum and substance.” Loughrin v. United




7
  For this reason, circuit precedent regarding “half-truths” in the context of mail and wire fraud is
inapplicable to bank fraud where the only alleged misrepresentation is the financial instrument
itself. Were it to be applied, every fraud that happens to involve valid checks or wires would be
subject to § 1344, which is contrary to precedent on misrepresentations in bank fraud.

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States, 573 U.S. 351, 357 (2014); United States v. Bouchard, 828 F.3d 116, 124–26 (2d Cir.

2016) (confirming Loughrin’s mandate that § 1344(1) “requires . . . specific intent”).

       Section 1344(1) does not cover frauds where “some other person other than a federally

insured institution was defrauded in a way that happened to involve banking, without evidence

that such institution was an intended victim.” Laljie, 184 F.3d at 189–90. Even if a U.S. bank is

“directly affected,” a conviction under § 1344(1) fails absent “intent to defraud the financial

institution itself.” Bouchard, 828 F.3d at 125; see also Laljie, 184 F.3d at 190 (noting that a

bank can be “made an unwitting instrumentality” of a fraud without being its victim). In

Bouchard, the Second Circuit reversed the convictions of defendants who defrauded a non-

federally insured entity, a subsidiary of a federally insured bank, because they lacked intent to

specifically defraud the parent bank. 828 F.3d at 124. The government argued—and the court

rejected—that the bank was “directly affected” because it “funded [the subsidiary’s] loans and

was liable for its losses.” Id. at 124. Similarly, here the government alleges that Halkbank

intended to deceive non-federally insured entities through transactions that affected U.S. banks.

ECF No. 562 ¶¶ 1, 6.

       The Indictment also does not allege that Halkbank intended to victimize a U.S. bank “by

exposing it to actual or potential loss.” Stavroulakis, 952 F.2d at 694. Even under the right to

control theory, which should not apply in the bank fraud context,8 a defendant must still “intend




8
  The Second Circuit has held that the “right to control” theory is applicable to bank fraud. See
United States v. Calderon, 944 F.3d 72, 88 (2d Cir. 2019). This application, which bleeds over
from mail/wire fraud jurisprudence, cannot be squared with recent Supreme Court cases on both
bank fraud (see, e.g., Loughrin v. United States, 573 U.S. 351 (2014)) and wire fraud (see, e.g.,
Kelly v. United States, 140 S. Ct. 1565 (2020). To the extent the Court finds this theory
applicable here, Halkbank respectfully preserves the issue for appeal.

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to injure the person or entity misled,” which is lacking here. United States v. D’Amato, 39 F.3d

1249, 1257 (2d Cir. 1994).

       B.      The Indictment fails to allege a scheme to obtain bank property by means of
               false or fraudulent pretenses, representations, or promises.

       The allegations in the Indictment also fail to establish that Halkbank schemed to “obtain

moneys, funds, credits, assets, securities, and other property owned by and under the custody and

control of such financial institution, by means of false and fraudulent pretenses, representations,

and promises.” ECF No. 562 ¶ 73 (citing 18 U.S.C. § 1344(2)).

       The Indictment fails to allege a false statement. The Indictment once again fails to allege

a basic requirement—the use of “false or fraudulent pretenses, representations, or promises.” 18

U.S.C. § 1344(2). The same argument from Part IV(A) above applies with equal force here.

       The Indictment fails to allege a scheme to obtain property owned or controlled by a U.S.

bank “by means of” a false statement. The Indictment further fails to allege that Halkbank

intended to obtain bank property under a U.S. bank’s custody or control. See Loughrin, 573 U.S.

at 355 (“We refer to that element . . . as ‘intent to obtain bank property.’”). U.S. banks are only

allegedly involved as intermediaries providing services, and the Indictment does not contain any

allegations that Halkbank, Zarrab, or anyone else sought to obtain property, much less property

over which a U.S. bank had custody or control. See, e.g., United States v. Blackmon, 839 F.2d

900, 903, 904–05 (2d Cir. 1988).

       Moreover, the property must be obtained “by means of” a false statement. 18 U.S.C. §

1344(2). This requires more than showing that a bank “would not have disbursed the funds had

the misrepresentation never occurred,” or that the false statement “counts as the but-for cause.”

Loughrin, 573 U.S. at 365. A direct relational link must exist between the alleged statement and

the bank being deceived into releasing its property. Id. at 362–63; see also Bouchard, 828 F.3d
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at 126 (“[Section] 1344(2) should not be read to federalize frauds that are only tangentially

related to the banking system, which is § 1344’s core concern.” (brackets and internal quotation

marks omitted)). The Indictment fails to link any false statement to any instance of a U.S. bank

being “naturally induc[ed]” to “part with its money.” See Loughrin, 573 U.S. at 365. And

“where no false statement” goes to a U.S. bank, “the fraud is not the means of obtaining bank

property.” Id. Accordingly, the bank fraud charge under § 1344(2) fails.

V.     Count Six Should Be Dismissed as Multiplicitous.

       The Indictment is multiplicitous because Halkbank is impermissibly charged with the

same crime twice. Count Two of the Indictment charges Halkbank with willfully conspiring to

“provide financial services to Iran” in violation of IEEPA. Count Six of the indictment charges

Halkbank with willfully conspiring to “transmit” and “transfer” funds “to places in the United

States from and through places outside the United States, with the intent to promote the carrying

on of specified unlawful activity,” namely, “the illegal export of services to Iran” in violation of

the IEEPA. The government details the same scheme consisting of the same transfers of funds,

from the same accounts, on the same dates as the basis for the two charges. After the Second

Circuit’s ruling in Atilla that limited this case to only primary sanctions, the alleged conspiracy

to violate IEEPA is limited to a conspiracy based entirely on the transfer of funds through U.S.

financial institutions—the same transfer of funds at issue in the alleged conspiracy to commit

money laundering.

       An indictment is multiplicitous when it charges two or more crimes in separate counts

“when in fact and law, only one crime has been committed.” United States v. Holmes, 44 F.3d

1150, 1553–54 (2d Cir. 1995). If each count requires proof of an additional element that the

other does not, then the charges are not multiplicitous. Blockburger v. United States, 284 U.S.

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299, 304 (1932); accord United States v. Ajayi, 808 F.3d 1113, 1123 (7th Cir. 2015) (explaining

the court looks to the “minimum amount of activity for which criminal liability attaches”

(internal quotation marks omitted)). If the two offenses require proof of the same elements, then

“they are the same offense and double jeopardy bars additional punishment and successive

prosecution.” United States v. Basciano, 599 F.3d 184, 197 (2d Cir. 2010) (internal quotation

marks omitted). Moreover, if the elements of one charge are “subsumed” within the other

charge, the counts are multiplicitous. See United States v. Zvi, 168 F.3d 49, 57 (2d Cir. 1999).

       The danger of multiplicitous charges is not just that a defendant will ultimately be

punished more than once for a single crime.9 Multiplicitous charges can “improperly prejudice a

jury by suggesting that a defendant has committed not one but several crimes.” United States v.

Reed, 639 F.2d 896, 904 (2d Cir. 1981); see also 1 Charles A. Wright, Federal Practice and

Procedure § 142 (5th ed.). That risk is particularly acute here because the government has spun

one alleged scheme into four different conspiracy counts as well as two substantive counts.

       The same underlying proof is necessary for an IEEPA conspiracy and money laundering

conspiracy because 18 U.S.C. §1956(a)(2)(A) does not require that the transferred funds be

generated by an unlawful activity. The elements of the money laundering conspiracy count are

entirely subsumed within the elements of the IEEPA count precisely because there is no “two-

step requirement” present in “the construction of § 1956(a)(2)” as there is in other federal money

laundering statutes. United States v. Piervinanzi, 23 F.3d 670, 680 (2d Cir. 1994). Unlike the




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  As a long line of Second Circuit cases show, violations of the Double Jeopardy Clause can be
remedied post-trial before conviction is entered “so long as no more than one punishment is
eventually imposed.” United States v. Josephberg, 459 F.3d 350, 355 (2d Cir. 2006) (per
curiam). That does not, however, address the prejudice issue that is particular to this case.

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charges at issue in Piervinanzi, here, the elements of the money laundering conspiracy charge are

fundamentally indistinguishable from the elements of the IEEPA conspiracy charge. It strains

credulity that a jury could find Halkbank conspired to (i) transport, transmit, or transfer funds,

(ii) to places in the United States from and through places outside the United States, (iii) with the

intent to promote the carrying on of specified unlawful activity, in this case “the illegal export of

[financial] services to Iran” in violation of 18 U.S.C. § 1956(a)(2) without simultaneously

finding Halkbank conspired to willfully commit funds to Iran in violation of IEEPA. Cf. United

States v. Jahedi, 681 F. Supp. 2d 430, 437 (S.D.N.Y. 2009) (noting the court’s “skepticism”

regarding “the government’s assertion that the jury could conclude [defendant] intended to

obstruct a pending judicial proceeding, but decide that he did not attempt to conceal or destroy a

document that would be used in an official proceeding”).

       The money laundering conspiracy charge is identical to the IEEPA conspiracy charge.

The same transactions are at issue in both charges, and the government cannot prove the

elements of one charge without simultaneously proving the elements of the other. The money

laundering conspiracy charge must be dismissed.

VI.    Count One Should Be Dismissed Because the Indictment Does Not Allege a
       Conspiracy to “Defraud” the United States.

       Although the plain language of 18 U.S.C. § 371 criminalizes conspiracies to “defraud,”

this prong has been broadly construed to include any effort to interfere with lawful governmental

functions (in addition to depriving the government of actual property through deceit). See, e.g.

United States v. Klein, 247 F.2d 908 (2d Cir. 1957). This interpretation arises out of two

Supreme Court cases from 1910 and 1924. See Haas v. Henkel, 216 U.S. 462 (1910);

Hammerschmidt v. United States, 265 U.S. 182 (1924). This overly broad interpretation is

unmoored from the common law definition of “defraud,” which requires a deprivation of actual
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property. Indeed, the Klein interpretation effectively criminalizes any alleged unethical

interactions with the government, which the Supreme Court has expressed concern about in its

more recent criminal jurisprudence, including its McDonnell decision. See, e.g. McDonnell v.

United States, 136 S. Ct. 2355, 2373 (2016). And the Second Circuit itself has expressed

“considerable judicial skepticism” about this interpretation of Section 371. Coplan, 703 F.3d at

61–62.

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